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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF GEORGIA
                                 MACON DIVISION

 UNITED STATES OF AMERICA,                    )
                                              )
        v.                                    )   CASE NO. 5:24-CR-65 (MTT)
                                              )
 JAMES MICHAEL WALKER,                        )
                                              )
                        Defendant.            )
                                              )

                                         ORDER

       The defendant, by and through his counsel, has moved to continue this case until

the next trial term. Doc. 17. The defendant was indicted on November 21, 2024, and

had his arraignment in this Court on December 4, 2024. Docs. 1; 6. No prior

continuances have been granted. The defendant, by and through his counsel, now

moves the Court to continue this case to the next trial term to allow additional time for

defense counsel to receive discovery and investigate the allegation. Doc. 17 at 3.

The government does not oppose the motion. Id. at 2.

       Pursuant to 18 U.S.C. § 3161(h)(7)(A), the Court finds the ends of justice served

by granting this continuance outweigh the best interests of the public and the defendant

to a speedy trial. Accordingly, the motion (Doc. 17) is GRANTED. The case is

continued from the January term until the Court’s next trial term presently scheduled for

March 10, 2025. The corresponding delay shall be deemed excludable pursuant to the

provisions of the Speedy Trial Act, 18 U.S.C. §§ 3161 et seq.

       SO ORDERED, this 18th day of December, 2024.

                                                  S/ Marc T. Treadwell
                                                  MARC T. TREADWELL, JUDGE
                                                  UNITED STATES DISTRICT COURT
